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10                                                    Attorneys for Christina Lovato, Chapter 7 Trustee

11                             UNITED STATES BANKRUPTCY COURT
12                                       DISTRICT OF NEVADA
13   In re                                              Lead Case No.: BK-19-50102-gs
                                                        (Chapter 7)
14   DOUBLE JUMP, INC.
15                                                      Substantively Consolidated with:
                  Debtor.
16                                                       19-50130-gs      DC Solar Solutions, Inc.
17                                                       19-50131-gs      DC Solar Distribution, Inc.
       X Affects DC Solar Solutions, Inc.                19-50135-gs      DC Solar Freedom, Inc.
18     X Affects DC Solar Distribution, Inc.
       X Affects DC Solar Freedom, Inc.                 DECLARATION OF SETH R. FREEMAN
19                                                      IN SUPPPORT OF TRUSTEE CHRISTINA
       X Affects Double Jump, Inc.
20                                                      LOVATO’S MOTION TO ESTABLISH
                                                        PROTOCOL FOR PRODUCTION OF
21                                                      DOCUMENTS
22
             I, Seth R. Freeman, hereby declare under penalty of perjury as follows:
23
             1.      I am a Managing Director at GlassRatner Advisory & Capital Group LLC, dba B.
24
25   Riley Advisory Services (“B. Riley Advisory”).

26           2.      The following facts are based on my personal knowledge or on information
27   provided to me by certain third-parties in connection with the above-captioned, substantively-
28
     consolidated Bankruptcy Case (“Bankruptcy Case”).
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 1      I.         B. Riley Advisory’s Relationship To The Debtors
 2            3.      On January 25, 2019, B. Riley Advisory was retained to provide me as the Debtors’
 3
     Chief Restructuring Officer (“CRO”) and to act as Financial Advisor for DC Solar Solutions, Inc.,
 4
     DC Solar Distribution, Inc., DC Solar Freedom, Inc., and Double Jump, Inc. (“Debtors”).
 5
 6            4.      In later January and early February 2019, the Debtors filed for chapter 11 relief

 7   before this court commencing this Bankruptcy Case. On March 22, 2019, the Court converted the
 8   Bankruptcy Cases under chapter 7 and appointed Trustee Christina Lovato (“Trustee”).
 9
              5.      B. Riley Advisory Services currently serves as the Trustee’s financial advisor.
10
        II.        The Debtors’ Books And Records
11
12            6.      On December 18, 2018, federal agencies (the “U.S.A.”) raided (the “Raid”), inter

13   alia, DC Solar’s corporate headquarters (“Headquarters”) and seized much of the Debtors’ books
14
     and records, including the following: (a) DC Solar’s file and email server, which the U.S.A.
15
     preserved in their state as of the date of the Raid by making image copies of each (“Preserved
16
17   Servers”); (b) nine electronic devices, including computers, tablets, and external hard drives

18   owned by the Debtors (the “Seized Devices;”) and (c) over 500 boxes of physical documents
19   (“Seized Physical Documents”).
20
              7.      he Seized Physical Documents included: (a) all of the Debtors’ files located in the
21
     “central file room” located on the second floor of Headquarters; (b) files and papers located in
22
23   executive offices, the accounting department office on the second floor of Headquarters; and (3)

24   files and papers located in operational staff offices on the ground floor of Headquarters.
25            8.      Following the Bankruptcy Court’s conversion of the Debtors’ case under chapter 7
26
     of the Bankruptcy Code, I preserved certain physical documents not seized by the U.S.A (the
27
28
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 1   “Remaining Physical Documents”). Certain of the Remaining Physical Documents are human-
 2   resource related documents containing information about DC Solar’s former employees.
 3
               9.       The U.S.A. did not seize 58 electronic devices, including laptops, tablets, and
 4
     computers, which were present at Headquarters on my arrival at DC Solar’s headquarters.
 5
 6   (“Remaining Devices”).

 7      III.         The Trustee’s Receipt of The Debtors’ Books and Records
 8             10.      Below is a summary of the manner in which the Trustee took possession of the
 9
     Remaining Physical Documents, the Remaining Devices, and the Preserved Servers:
10
        A. The Remaining Physical Documents
11
12             11.       On April 2, 2019, I handed Trustee Lovato a small quantity of folders containing

13   post-petition bank statements and other vendor statements and notices that were received by the
14
     Debtors at Headquarters between my appointment as CRO and that date.
15
               12.      Also on June 3, 2019, I caused all of the Remaining Physical Documents to be
16
17   packed into 34 boxes and shipped to the Trustee’s secure storage facility in Reno, Nevada, save

18   for certain reference documents which I maintained possession of in furtherance of the Trustee’s
19   investigation; I shipped those reference documents to Trustee’s counsel, Jeffrey Hartman, on July
20
     14, 2021.
21
        B. Electronically Stored Information
22
23             13.      On March 9, 2021, the Trustee’s counsel, Jeffrey Hartman, received a hard drive

24   containing an image copy of each of the Preserved Servers.
25
26
27
28
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 1          14.     On January 9, 2021, I received from Trustee Donald Gieseke1 a copy of a hard drive
 2   containing an image copy of the U.S.A.’s scans of the documents contained in 350 out of the over
 3
     500 boxes worth of Seized Physical Documents (the “Scanned Physical Documents”) and a hard
 4
     drive containing the U.S.A.’s image copy of the Preserved Servers..
 5
 6          15.     Additionally, on January 27 and 28, 2021, I went to the FBI Sacramento Annex

 7   office located at 20001 Freedom Way Roseville, CA 95678 to inspect certain documents in the
 8   U.S.A.’s possession, and scanned certain of those documents to a hard drive attached to my laptop
 9
     computer (“Additional Scanned Documents”); on March 25, 2021, I delivered the contents of the
10
     hard drive electronically to the Trustee.
11
12       C. Electronic Devices

13          16.     On June 3, 2019, I shipped the Remaining Devices to the Trustee’s secure storage
14
     facility in Reno, Nevada.
15
            17.     The Trustee does not have possession of the Seized Physical Devices, nor has she
16
17   received image copies of them.

18       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
19   correct. Executed on: July 15, 2021.
20
21
                                            By:     _______________________________
22                                                  Seth R. Freeman, CIRA, CTP
                                                    GlassRatner Advisory & Capital Group, LLC,
23                                                  dba B. Riley Advisory Services
24                                                  425 California Street, Suite 900
                                                    San Francisco, CA 94556
25
26
27   1
      Trustee Donald Gieseke was appointed as trustee for the following entities: 140 Mason Circle, LLC, 475
28   Channel Road, LLC Brandy Boy Properties, LLC, Dog Blue Properties, LLC, Dora Dog Properties, LLC,
     Park Road, LLC.
